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                           IN TH E UNITED STATESDISTRICT COURT
                              FOR TH E DISTRICT OFNEW JERSEY


IND IVIO R INC., and IND IVIO R UK
LIM ITED ,

                    Plaintiffs ,                                CivilAction No. _2:17-cv-7106
                                                                                  __________
        v.

ALVO GEN PINE BR O O K , INC.,

                    D e fe ndant.

                      I.     COM PLAINT FOR PATENT INFRINGEM ENT

Plaintiffs Indivior Inc. (form e rlyk nown as R e ck ittBe nck is e r Ph arm ace uticals Inc.)(“Indivior”)

and Indivior UK Lim ited (form e rlyk nown as R B Ph arm ace uticals Lim ited)(“Indivior UK ”),

(collective ly, “Plaintiffs ”)file this Com plaintagains tD e fe ndantAlvoge n Pine Brook , Inc.

(“Alvoge n”or “D e fe ndant”)and allege as follows :

                                    NATURE OFTH E ACTION

        1.      Th is is an action for patentinfringe m e ntaris ing unde r the Food and D rug Laws

and PatentLaws ofthe United States , Titles 21 and 35 ofthe United States Code , re s pe ctive ly,

aris ing from Alvoge n’s s ubm is s ion ofan Abbre viated Ne w D rug Application (“AND A”)to the

Food and D rug Adm inis tration (“FD A”)s e e k ing approvalto m anufacture , us e , and s e lla ge ne ric

ve rs ion ofPlaintiffs ’Suboxone ® s ublingualfilm prior to the e xpiration ofUnited States Patent

No. 9 ,687,454 (“the ’454 patent”or “the patent-in-s uit”).

                                                TH E PARTIES

        2.      PlaintiffIndivior is a D e laware corporation h aving a principalplace ofbus ine s s at

10710 M idlothian Turnpik e , Suite 430, R ich m ond, Virginia.

        3.      PlaintiffIndivior UK is a United K ingdom corporation h aving a principalplace of

bus ine s s at103-105 Bath R oad, Slough , UK .

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        4.       O n inform ation and be lie f, Alvoge n is a D e laware corporation h aving a principal

place ofbus ine s s at10 Bloom fie ld Ave nue , Building B, Pine Brook , Ne w Je rs e y07058.

                                         JURISDICTION AND VENUE

        5.       Th is Courth as s ubje ctm atter juris diction ove r this action purs uantto 28 U.S.C.

§§1331, 1338(a), 2201, and 2202.

        6.       O n inform ation and be lie f, Alvoge n is in the bus ine s s of, inte r alia, de ve loping,

m anufacturing, obtaining re gulatoryapproval,m ark e ting, s e lling, and dis tributing ge ne ric copie s

ofbrande d ph arm ace uticalproducts in Ne w Je rs e yand through outthe United States .

        7.       Th is Courth as pe rs onaljuris diction ove r Alvoge n be caus e of, inte r alia,

Alvoge n’s principalplace ofbus ine s s in Ne w Je rs e y, Alvoge n’s continuous and s ys tem atic

contacts with corporate e ntitie s within this judicialdis trict,and Alvoge n’s m ark e ting and s ales

activitie s in this judicialdis trict,including, butnotlim ited to, the s ubs tantial,continuous , and

s ys tem atic dis tribution, m ark e ting, and/or s ales ofge ne ric ph arm ace uticalproducts to re s ide nts

ofthis judicialdis trict.

        8.       Ve nue is prope r in this D is trictunde r 28 U.S.C. §§139 1 and 1400.

                                             TH E PATENT-IN-SUIT

        9.       PlaintiffIndivior UK is the lawfulowne r ofthe ’454 patent,and PlaintiffIndivior

is an e xclus ive lice ns e e ofthe ’454 patent.Th e ’454 patent,e ntitled “Sublingualand BuccalFilm

Com pos itions ,”was dulyand legallyis s ue d on June 27, 2017, nam ing GarryL. M ye rs , Sam ue l

D . H ilbe rt,BillJ. Boone , Be uford Arlie Bogue , Prade e p Sangh vi, and M adh us udan H arih aran as

inve ntors . A true copyofthe ’454 patentis attach e d h e re to as Exh ibitA.
                                                      ®
                                     SUBOXONE             SUBLINGUAL FILM

        10.      PlaintiffIndivior is the h olde r ofNe w D rug Application (“ND A”)No. 22-410 for

Suboxone ® (bupre norph ine h ydroch loride and naloxone h ydroch loride )s ublingualfilm .

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        11.     O n Augus t30, 2010, the FD A approve d ND A No. 22-410 for the m anufacture ,

m ark e ting, and s ale ofSuboxone ® s ublingualfilm for the tre atm e ntofopioid de pe nde nce .

PlaintiffIndivior h as s old Suboxone ® s ublingualfilm unde r ND A No. 22-410 s ince its approval.

        12.     Th e ’454 patentis lis ted in the FD A’s Approve d D rug Products w ith Th e rape utic

Eq uivalence Evaluations (the “O range Book ”)as cove ring Suboxone ® s ublingualfilm .

                                    TH E DRUG APPROVAL PROCESS

        13.     In 19 84, Congre s s e nacted the D rug Price Com pe tition and PatentTe rm

R e s toration Act,com m onlyk nown as the “H atch -W axm an Act”and codifie d at21 U.S.C. §355.

Th e H atch -W axm an Actwas intende d to balance two im portantpublic policygoals. Firs t,

Congre s s wanted to e ns ure thatinnovator drug m anufacture rs would h ave m e aningfulpatent

protection and a pe riod ofm ark e ting e xclus ivityto e nable the m to re coup the ir inve s tm e nts in

the de ve lopm e ntofvaluable ne w drugs . Se cond, Congre s s s ough tto e ns ure that,once the patent

protection and m ark e ting e xclus ivityfor the s e drugs e xpire , cons um e rs would be ne fitfrom the

availabilityoflowe r price d ge ne ric ve rs ions ofapprove d drugs .

        14.     Unde r 21 U.S.C. §355(b)(1), the innovator drug m anufacture r and ND A

applicantis re q uire d to s ubm ite xtens ive tes ting and s afe tyinform ation conce rning the drug. In

addition, the ND A applicantm us ts ubm itinform at
                                                  ion on “anypatentwh ich claim s the drug for

wh ich the applicants ubm itted the application or wh ich claim s a m e thod ofus ing s uch drug and

with re s pe ctto wh ich a claim ofpatentinfringe m e ntcould re as onablybe as s e rted.”O nce the

ND A is approve d, the FD A lis ts this patentinform ation in the O range Book .

        15.     In contras t,the H atch -W axm an Actallows AND A applicants to obtain FD A

approvalfor ge ne ric ve rs ions ofpre vious ly-approve d drugs withouth aving to re pe atthe

e xtens ive tes ting re q uire d for a ne w drug application. Unde r 21 U.S.C. §355(j), AND As can re ly

on FD A’s pre vious findings ofs afe tyand e fficacyfor an approve d drug product,ifthe y

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de m ons trate, am ong othe r things , thatthe ge ne ric drug is bioe q uivalentto the pre vious ly-

approve d drug.

        16.      W h e n a ge ne ric m anufacture r s ubm its an AND A, the FD A conducts a pre lim inary

re vie w ofthe application to e ns ure itis s ufficie ntlycom plete to pe rm ita s ubs tantive re vie w. Se e

21 C.F.R . §314.101(b)(1). “R e ce iptofan [AND A] m e ans thatFD A h as m ade a thre s h old

de term ination thatthe abbre viated application is s ufficie ntlycom plete to pe rm ita s ubs tantive

re vie w.”Id.

        17.      Unde r 21 U.S.C. §355(j)(2)(A)(vii), the AND A m us talso include one ofthe

following four ce rtifications with re s pe ctto e ach ofthe patents lis ted in the O range Book for the

pre vious ly-approve d drug product: (i)thatthe patentinform ation h as notbe e n filed (“Paragraph

I”ce rtifications );(ii)thatthe patenth as e xpire d (“Paragraph II”ce rtifications );(iii)thatthe

patentwille xpire on a s pe cific date, and the ge ne ric wills tayoffthe m ark e tuntilthatdate

(“Paragraph III”ce rtifications );or (iv)thatthe “patentis invalid or willnotbe infringe d bythe

m anufacture , us e , or s ale ofthe ne w drug for wh ich the application is s ubm itted”(“Paragraph

IV”ce rtifications ).

        18.      Ifthe AND A include s a Paragraph IVce rtification, the H atch -W axm an Act

re q uire s the AND A applicantto give notice to the patentowne r ofthe factualand legalbas is for

the applicant’s opinion thatpatents lis ted in the O range Book are invalid or willnotbe infringe d

(“Notification Le tter”)“notlater than 20 days after the date ofthe pos tm ark on the notice with

wh ich the [FD A] inform s the applicantthatthe application h as be e n filed.”21 U.S.C. §

355(j)(2)(B).

        19 .     Ifthe patentowne r files an infringe m e ntaction within 45 days ofre ce iving the

Notification Le tter, a 30-m onth injunction or s tayofthe FD A approvalis trigge re d, calculated



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from the date ofre ce iptofthe Notification Le tter. Se e 21 U.S.C. §355(j)(5)(B)(iii). Th is 30-

m onth pe riod is intende d to allow tim e for judicialre s olution on the m e rits ofanypatent

infringe m e nt,validity, and/or e nforce abilityclaim s , be fore the com pe titor is allowe d e ntryinto

the m ark e t.

                                 ALVOGEN’SPARAGRAPH IV NOTICE

                 20.     Plaintiffs re ce ive d the Notification Le tter from Alvoge n dated Augus t17,

2017, s tating thatAND A No. 2059 54 contains Paragraph IVce rtifications alleging thatthe ’454

patentis invalid, une nforce able, and/or willnotbe infringe d bythe m anufacture , us e , or s ale of

the ge ne ric productpropos e d in the AND A.

                 21.     Th e Notification Le tter furthe r s tates thatAlvoge n s ubm itted AND A No.

2059 54 to the FD A unde r 21 U.S.C. §355(j), s e e k ing approvalto e ngage in com m e rcial

m anufacture , us e , and/or s ale ofAlvoge n’s ge ne ric productbe fore e xpiration ofthe patent-in-

s uit.O n inform ation and be lie f, AND A No. 2059 54 conce rns dos age s ofD e fe ndant’s ge ne ric

productand re fe rs to and re lie s on PlaintiffIndivior’s ND A for Suboxone ® s ublingualfilm and

purports to contain data s h owing bioe q uivalence ofAlvoge n’s ge ne ric productwith Suboxone ®

s ublingualfilm .

                 22.     Plaintiffs com m e nce d this action within 45 days ofre ce iving the

Notification Le tter.

                                              COUNT 1
                        Infringementofthe’454 PatentUnder35 U.S.C. §271(e)(2)

        23.              O n inform ation and be lie f, Alvoge n’s ge ne ric productis cove re d byone or

m ore claim s ofthe ’454 patent.

        24.              Byfiling AND A No. 2059 54 unde r 21 U.S.C. §355(j)for the purpos e s of

obtaining approvalto e ngage in the com m e rcialm anufacture , us e , and/or s ale ofAlvoge n’s


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ge ne ric productprior to the e xpiration ofthe ’454 patent,Alvoge n h as com m itted an actof

infringe m e ntofthe ’454 patentunde r 35 U.S.C. §271(e )(2).

         25.               Plaintiffs are e ntitled to the re lie fprovide d by35 U.S.C. §271(e )(4),

including, inte r alia, an orde r ofthis Courtthatthe FD A s e tthe e ffe ctive date ofapprovalfor

AND A No. 2059 54 to be a date wh ich is notanye arlie r than the e xpiration date ofthe ’454

patent,including anye xtens ions ofthatdate.

                                                PRAYER FOR RELIEF

         W H ER EFO R E, Plaintiffs re s pe ctfullyre q ue s tthatthis Courte nter:

         A.       A judgm e ntthatAlvoge n h as infringe d the ’454 patentunde r 35 U.S.C. §

271(e )(2)bys ubm itting and m aintaining AND A No. 2059 54;

         B.       A de claratoryjudgm e ntthatD e fe ndant’s com m e rcialm anufacture within the

United States ofAlvoge n’s ge ne ric productwould infringe the ’454 patentunde r 35 U.S.C. §

271;

         C.       Pre lim inaryand pe rm ane ntinjunctions , re s training and e njoining Alvoge n, its

office rs , age nts, attorne ys , affiliates , divis ions , s ucce s s ors and e m ploye e s , and thos e acting in

privityor conce rtwith the m , from e ngaging in, caus ing, or inducing the com m e rcial

m anufacture , us e , offe r to s e ll,or s ale within the United States , or im portation into the United

States , ofdrugs and form ulations , or from inducing and/or e ncouraging the us e ofm e thods ,

claim e d in the patent-in-s uit;

         D.       An orde r thatthe e ffe ctive date ofanyapprovalofAND A No. 2059 54 be a date

thatis note arlie r than the e xpiration ofthe patent-in-s uit,including anye xtens ions the re ofand

anylater e xpiration ofe xclus ivityas s ociated with the ’454 patent;

         E.       A judgm e ntand orde r finding thatthis is an e xce ptionalcas e within the m e aning

of35 U.S.C. §285 and awarding to Plaintiffs the ir re as onable attorne ys ’fe e s ;

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        F.       A judgm e ntgranting Plaintiffs com pe ns atorydam age s in an am ountto be

de term ine d attrialincluding both pre -judgm e ntand pos t-judgm e ntintere s tifAlvoge n

com m e rciallym anufacture s , us e s , offe rs to s e ll,or s e lls in the United States , or im ports into the

United States , Alvoge n’s ge ne ric productbe fore the e xpiration ofthe patent-in-s uit,including

anye xtens ions ;and

        G.       Anyand allothe r re lie fas the Courtde e m s jus tand prope r.




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D ated: Se ptem be r 14, 2017   TROUTM AN SANDERSLLP

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